                  Case 15-24121                     Doc 1           Filed 07/15/15 Entered 07/15/15 14:14:15                                                 Desc Main
B1 (Official Form 1) (04/13)                                          Document     Page 1 of 39
                                                 United States Bankruptcy Court
                                                NORTHERN DISTRICT OF ILLINOIS                                                                                    Voluntary Petition
                                                 CHICAGO DIVISION (EASTERN)
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Moore, Gloria J.

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):     xxx-xx-0979                                                                than one, state all):
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
2018 Elizabeth Ave.
North Chicago, IL
                                                                          ZIP CODE                                                                                         ZIP CODE
                                                                            60064
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
Lake
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):



                                                                          ZIP CODE                                                                                         ZIP CODE


Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                           ZIP CODE


                         Type of Debtor                                         Nature of Business                                    Chapter of Bankruptcy Code Under Which
                      (Form of Organization)                                      (Check one box.)                                       the Petition is Filed (Check one box.)
                         (Check one box.)                                      Health Care Business                               Chapter 7
        Individual (includes Joint Debtors)                                    Single Asset Real Estate as defined                Chapter 9                 Chapter 15 Petition for Recognition
        See Exhibit D on page 2 of this form.                                  in 11 U.S.C. § 101(51B)                                                      of a Foreign Main Proceeding
                                                                                                                                  Chapter 11
        Corporation (includes LLC and LLP)                                     Railroad
                                                                                                                                  Chapter 12                Chapter 15 Petition for Recognition
                                                                               Stockbroker                                                                  of a Foreign Nonmain Proceeding
        Partnership                                                                                                               Chapter 13
                                                                               Commodity Broker
        Other (If debtor is not one of the above entities, check
        this box and state type of entity below.)                              Clearing Bank                                                         Nature of Debts
                                                                               Other                                                                 (Check one box.)
                        Chapter 15 Debtors                                          Tax-Exempt Entity                             Debts are primarily consumer             Debts are primarily
Country of debtor's center of main interests:                                     (Check box, if applicable.)                     debts, defined in 11 U.S.C.              business debts.
                                                                               Debtor is a tax-exempt organization                § 101(8) as "incurred by an
Each country in which a foreign proceeding by, regarding, or                   under title 26 of the United States                individual primarily for a
against debtor is pending:                                                     Code (the Internal Revenue Code).                  personal, family, or house-
                                                                                                                                  hold purpose."
                              Filing Fee (Check one box.)                                            Check one box:                     Chapter 11 Debtors
                                                                                                             Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
        Full Filing Fee attached.
                                                                                                             Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach          Check if:
        signed application for the court's consideration certifying that the debtor is                       Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                        insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                             on 4/01/16 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 Check all applicable boxes:
        attach signed application for the court's consideration. See Official Form 3B.                       A plan is being filed with this petition.
                                                                                                             Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                             of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49        50-99        100-199        200-999         1,000-           5,001-           10,001-              25,001-           50,001-         Over
                                                         5,000            10,000           25,000               50,000            100,000         100,000
 Estimated Assets

 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
 Estimated Liabilities

 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
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                 Case 15-24121                    Doc 1           Filed 07/15/15 Entered 07/15/15 14:14:15                                         Desc Main
B1 (Official Form 1) (04/13)                                        Document     Page 2 of 39                                                                                    Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Gloria J. Moore
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 None
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:


District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
        Exhibit A is attached and made a part of this petition.                             such chapter. I further certify that I have delivered to the debtor the notice
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ Kenneth S. Borcia                                                6/4/2015
                                                                                                 Kenneth S. Borcia                                                      Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
        Yes, and Exhibit C is attached and made a part of this petition.
        No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
          Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:
              Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)
        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.

        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
        Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)
        Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

        Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                Case 15-24121                     Doc 1           Filed 07/15/15 Entered 07/15/15 14:14:15                                            Desc Main
B1 (Official Form 1) (04/13)                                        Document     Page 3 of 39                                                                                      Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Gloria J. Moore
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the                     I request relief in accordance with chapter 15 of title 11, United States Code.
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).                   Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,                Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
 specified in this petition.                                                                     title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X     /s/ Gloria J. Moore
      Gloria J. Moore
                                                                                             X
                                                                                                 (Signature of Foreign Representative)
 X
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     6/4/2015
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ Kenneth S. Borcia                                                                 defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Kenneth S. Borcia                                Bar No. 3125988                       have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Kenneth S. Borcia & Associates
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 1117 S. Milwaukee, Suite A-3                                                                given the debtor notice of the maximum amount before preparing any document
 Libertyville, IL 60048                                                                      for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                             section. Official Form 19 is attached.


          (847) 634-8800
 Phone No.______________________        (847) 634-8932
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     6/4/2015
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


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B 1D (Official Form 1, Exhibit D) (12/09)
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                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                               CHICAGO DIVISION (EASTERN)
In re:   Gloria J. Moore                                                                 Case No.
                                                                                                              (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
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B 1D (Official Form 1, Exhibit D) (12/09)
                                                 Document     Page 5 of 39
                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                               CHICAGO DIVISION (EASTERN)
In re:   Gloria J. Moore                                                              Case No.
                                                                                                           (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:    /s/ Gloria J. Moore
                       Gloria J. Moore

Date:         6/4/2015
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B6A (Official Form 6A) (12/07)



In re Gloria J. Moore                                                        Case No.
                                                                                                                   (if known)



                                         SCHEDULE A - REAL PROPERTY


                                                                                                                Current Value




                                                                                      Husband, Wife, Joint,
                                                                                                                 of Debtor's
                   Description and                          Nature of Debtor's




                                                                                        or Community
                                                                                                                  Interest in
                     Location of                           Interest in Property
                                                                                                              Property, Without    Amount Of
                      Property                                                                                                    Secured Claim
                                                                                                               Deducting Any
                                                                                                               Secured Claim
                                                                                                                or Exemption


  None




                                                                                  Total:                                 $0.00
                                                                                  (Report also on Summary of Schedules)
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In re Gloria J. Moore                                                                         Case No.
                                                                                                                (if known)



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                                     Husband, Wife, Joint,
                                                                                                                                             Current Value of
                                                                                                                                             Debtor's Interest




                                                                                                                       or Community
                                                                                                                                                in Property,

             Type of Property               None                    Description and Location of Property
                                                                                                                                             Without Deducting
                                                                                                                                               any Secured
                                                                                                                                                  Claim or
                                                                                                                                                 Exemption

1. Cash on hand.                                   Cash                                                                    -                          $50.00



2. Checking, savings or other finan-               Great Lakes Credit Union                                                -                          $50.00
cial accounts, certificates of deposit
or shares in banks, savings and loan,
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-      X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,                Bedroom furniture, kitchen & living room furniture, audio,              -                         $950.00
including audio, video and computer                video & computer equipment, misc. household goods,
equipment.

5. Books; pictures and other art                   Books, pictures & collections                                           -                          $35.00
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                                clothing                                                                -                         $100.00


7. Furs and jewelry.                               Furs & jewelry                                                          -                          $40.00



8. Firearms and sports, photo-                     sports & hobby equipment                                                -                          $20.00
graphic, and other hobby equipment.

9. Interests in insurance policies.         X
Name insurance company of each
policy and itemize surrender or
refund value of each.
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B6B (Official Form 6B) (12/07) -- Cont.
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In re Gloria J. Moore                                                                  Case No.
                                                                                                    (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                         Continuation Sheet No. 1




                                                                                                         Husband, Wife, Joint,
                                                                                                                                 Current Value of
                                                                                                                                 Debtor's Interest




                                                                                                           or Community
                                                                                                                                    in Property,

             Type of Property                None            Description and Location of Property
                                                                                                                                 Without Deducting
                                                                                                                                   any Secured
                                                                                                                                      Claim or
                                                                                                                                     Exemption


10. Annuities. Itemize and name              X
each issuer.

11. Interests in an education IRA as         X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,          X
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-          X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint       X
ventures. Itemize.

15. Government and corporate bonds           X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                     X

17. Alimony, maintenance, support,           X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to           X
debtor including tax refunds. Give
particulars.
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B6B (Official Form 6B) (12/07) -- Cont.
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In re Gloria J. Moore                                                                      Case No.
                                                                                                        (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 2




                                                                                                             Husband, Wife, Joint,
                                                                                                                                     Current Value of
                                                                                                                                     Debtor's Interest




                                                                                                               or Community
                                                                                                                                        in Property,

             Type of Property                None                Description and Location of Property
                                                                                                                                     Without Deducting
                                                                                                                                       any Secured
                                                                                                                                          Claim or
                                                                                                                                         Exemption


19. Equitable or future interests, life      X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent             X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-            X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other           X
intellectual property. Give
particulars.

23. Licenses, franchises, and other          X
general intangibles. Give particulars.

24. Customer lists or other compilations     X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,                  2012 Chevy Cruz                                                -                      $12,000.00
and other vehicles and accessories.
                                                    2012 Chrysler 200                                              -                      $13,000.00
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In re Gloria J. Moore                                                                         Case No.
                                                                                                                     (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 3




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,

             Type of Property                 None               Description and Location of Property
                                                                                                                                                  Without Deducting
                                                                                                                                                    any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption


26. Boats, motors, and accessories.           X

27. Aircraft and accessories.                 X

28. Office equipment, furnishings,            X
and supplies.

29. Machinery, fixtures, equipment,           X
and supplies used in business.

30. Inventory.                                X

31. Animals.                                  X

32. Crops - growing or harvested.             X
Give particulars.

33. Farming equipment and                     X
implements.

34. Farm supplies, chemicals, and             X
feed.

35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          3           continuation sheets attached   Total >                           $26,245.00
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
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B6C (Official Form 6C) (4/13)
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In re Gloria J. Moore                                                                          Case No.
                                                                                                                    (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $155,675.*
      11 U.S.C. § 522(b)(2)
      11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                Value of Claimed
              Description of Property                                                                                            Without Deducting
                                                                       Exemption                           Exemption
                                                                                                                                     Exemption



 Cash                                                    735 ILCS 5/12-1001(b)                                      $50.00                  $50.00

 Great Lakes Credit Union                                735 ILCS 5/12-1001(b)                                      $50.00                  $50.00

 Bedroom furniture, kitchen & living room                735 ILCS 5/12-1001(b)                                    $950.00                 $950.00
 furniture, audio, video & computer equipment,
 misc. household goods,

 Books, pictures & collections                           735 ILCS 5/12-1001(b)                                      $35.00                  $35.00

 clothing                                                735 ILCS 5/12-1001(a), ( e)                              $100.00                 $100.00

 Furs & jewelry                                          735 ILCS 5/12-1001(b)                                      $40.00                  $40.00

 sports & hobby equipment                                735 ILCS 5/12-1001(b)                                      $20.00                  $20.00




* Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                                $1,245.00               $1,245.00
            Case 15-24121            Doc 1                  Filed 07/15/15 Entered 07/15/15 14:14:15                                                 Desc Main
                                                             Document     Page 12 of 39
B6D (Official Form 6D) (12/07)
          In re Gloria J. Moore                                                                                        Case No.
                                                                                                                                                    (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                              Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                                   DATE CLAIM WAS                                  AMOUNT OF         UNSECURED




                                                                                                                                UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                    CLAIM           PORTION, IF




                                                                                                                                 CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                  DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                    WITHOUT             ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                  DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                      VALUE OF
                                                                                             PROPERTY SUBJECT                                  COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:
ACCT #:                                                                           NATURE OF LIEN:


Great Lakes Credit Union                                                          COLLATERAL:
                                                                                  2012 Chevy Cruz                                                 $15,000.00          $3,000.00
2525 Green Bay Road                                             -                 REMARKS:
North Chicago, IL 60064



                                                                                  VALUE:                          $12,000.00
                                                                                  DATE INCURRED:
ACCT #:                                                                           NATURE OF LIEN:


Turner Acceptance                                                                 COLLATERAL:
                                                                                  2012 Chrysler 200                                               $15,000.00          $2,000.00
4454 N. Western Ave.                           X                -                 REMARKS:
Chicago, IL 60625



                                                                                  VALUE:                          $13,000.00




                                                                                                       Subtotal (Total of this Page) >             $30,000.00           $5,000.00
                                                                                                      Total (Use only on last page) >              $30,000.00           $5,000.00
________________continuation
       No                    sheets attached                                                                                                   (Report also on   (If applicable,
                                                                                                                                               Summary of        report also on
                                                                                                                                               Schedules.)       Statistical
                                                                                                                                                                 Summary of
                                                                                                                                                                 Certain Liabilities
                                                                                                                                                                 and Related
                                                                                                                                                                 Data.)
              Case 15-24121              Doc 1        Filed 07/15/15 Entered 07/15/15 14:14:15                                Desc Main
                                                       Document     Page 13 of 39
B6E (Official Form 6E) (04/13)

In re Gloria J. Moore                                                                             Case No.
                                                                                                                            (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


    Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals
    Claims of individuals up to $2,775* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


    Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       No                    sheets attached
            Case 15-24121            Doc 1      Filed 07/15/15 Entered 07/15/15 14:14:15                                               Desc Main
                                                 Document     Page 14 of 39
B6F (Official Form 6F) (12/07)
  In re Gloria J. Moore                                                                                            Case No.
                                                                                                                              (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                              HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                     DATE CLAIM WAS                                AMOUNT OF




                                                                                                                                    UNLIQUIDATED
                MAILING ADDRESS                                                                       INCURRED AND                                   CLAIM




                                                                                                                                     CONTINGENT
                                                                OR COMMUNITY
                                                   CODEBTOR




                                                                                                                                      DISPUTED
              INCLUDING ZIP CODE,                                                                  CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                            CLAIM.
             (See instructions above.)                                                           IF CLAIM IS SUBJECT TO
                                                                                                    SETOFF, SO STATE.


ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
Aastro Loanmax                                                                                                                                          $300.00
223 S. Green Bay Rd.                                                                  REMARKS:
                                                                  -
Waukegan, IL 60085



ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
Acceptance Now                                                                                                                                          $162.00
5501 Headquarters Dr                                                                  REMARKS:
                                                                  -
Plano, TX 75024



ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
American Cash N Go                                                                                                                                     Unknown
P.O. Box 589                                                                          REMARKS:
                                                                  -
Plainfield, IL 60544-0589



ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
AT&T U-verse                                                                                                                                           $1,834.00
P.O. Box 5014                                                                         REMARKS:
                                                                  -
Carol Stream, IL 60197




Representing:                                                                         AFNI                                                           Notice Only
AT&T U-verse                                                                          P.O. Box 3097
                                                                                      Bloomington, IL 61702-3097



ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
Chhabia Neurological Services                                                                                                                           $216.00
222 S. Greenleaf,Ste. 111                                                             REMARKS:
                                                                  -
Gurnee, IL 60031



                                                                                                                                Subtotal >              $2,512.00

                                                                                                                        Total >
                                                                          (Use only on last page of the completed Schedule F.)
________________continuation
       4                     sheets attached                  (Report also on Summary of Schedules and, if applicable, on the
                                                                  Statistical Summary of Certain Liabilities and Related Data.)
             Case 15-24121             Doc 1        Filed 07/15/15 Entered 07/15/15 14:14:15                                              Desc Main
                                                     Document     Page 15 of 39
B6F (Official Form 6F) (12/07) - Cont.
  In re Gloria J. Moore                                                                                               Case No.
                                                                                                                                 (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                  CLAIM




                                                                                                                                        CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Comcast                                                                                                                                                    $211.00
2508 W. Rte 120                                                                           REMARKS:
                                                                      -
McHenry, IL 60050




 Representing:                                                                            CMI                                                           Notice Only
 Comcast                                                                                  4200 International Pkwy.
                                                                                          Carrollton, TX 75007-1906




 Representing:                                                                            Credit Protection Association                                 Notice Only
 Comcast                                                                                  13355 Noel Road
                                                                                          Dallas, TX 75240



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Fingerhut                                                                                                                                                  $225.00
6250 Ridgewood Rd.                                                                        REMARKS:
                                                                      -
Saint Cloud, MN 56303-0820



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
First Premier Bank                                                                                                                                         $439.00
P.O. Box 5524                                                                             REMARKS:
                                                                      -
Sioux Falls, SD 57117-5524



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
G.R. Kozina, DDS/Den-Care Smile Center                                                                                                                     $113.00
2127 Green Bay Road, P.O. Box 1404                                                        REMARKS:
                                                                      -
North Chicago, IL 60064



Sheet no. __________
              1        of __________
                               4     continuation sheets attached to                                                               Subtotal >               $988.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 15-24121             Doc 1        Filed 07/15/15 Entered 07/15/15 14:14:15                                             Desc Main
                                                     Document     Page 16 of 39
B6F (Official Form 6F) (12/07) - Cont.
  In re Gloria J. Moore                                                                                              Case No.
                                                                                                                                (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                 CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.



 Representing:                                                                            Certified Services                                           Notice Only
 G.R. Kozina, DDS/Den-Care Smile Center                                                   1733 Washington Street, Suite 201
                                                                                          Waukegan, IL 60085




 Representing:                                                                            David Axelrod & Assoc.                                       Notice Only
 G.R. Kozina, DDS/Den-Care Smile Center                                                   1448 Old Skokie Road
                                                                                          Highland Park, IL 60035



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
JHG Management, Inc./Aastro Loanmax                                                                                                                      $1,447.00
223 S. Green Bay Rd.                                                                      REMARKS:
                                                                      -
Waukegan, IL 60085



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Lake Heart Specialists                                                                                                                                      $16.00
35 Tower Court, Ste. F                                                                    REMARKS:
                                                                      -
Gurnee, IL 60031



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Medical Business Bureau                                                                                                                                   $181.00
1460 Renaissance Dr.                                                                      REMARKS:
                                                                      -
Park Ridge, IL 60068-7219                                                                 Collecting for Frank Leung, MD



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Northgate Luxury Rental Neighborhood                                                                                                                     $1,016.00
2330 Samson Way                                                                           REMARKS:
                                                                      -
Waukegan, IL 60087



Sheet no. __________
              2        of __________
                               4     continuation sheets attached to                                                              Subtotal >              $2,660.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 15-24121             Doc 1        Filed 07/15/15 Entered 07/15/15 14:14:15                                            Desc Main
                                                     Document     Page 17 of 39
B6F (Official Form 6F) (12/07) - Cont.
  In re Gloria J. Moore                                                                                             Case No.
                                                                                                                               (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                             AMOUNT OF




                                                                                                                                     UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                CLAIM




                                                                                                                                      CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                       DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.



 Representing:                                                                            Hunter Warfield                                             Notice Only
 Northgate Luxury Rental Neighborhood                                                     4620 Woodland Corporate Blvd.
                                                                                          Tampa, FL 33614



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Peoples Energy                                                                                                                                           $687.00
130 E. Randolph, 14th Floor                                                               REMARKS:
                                                                      -
Special Procedures
Chicago, IL 60601

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Regional Acceptance Corp.                                                                                                                              $15,895.00
1424E East Fire Tower Rd.                                                                 REMARKS:
                                                                      -
Greenville, NC 27858



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Sir Finance                                                                                                                                             $3,000.00
6140 N. Lincoln Avenue                                                                    REMARKS:
                                                                      -
Chicago, IL 60659



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
St. Therese Medical Center                                                                                                                               $310.00
99 Greenwood                                                                              REMARKS:
                                                                      -
Waukegan, IL 60085




 Representing:                                                                            Senex Services                                              Notice Only
 St. Therese Medical Center                                                               3500 DePauw Blvd., Ste. 3050
                                                                                          Indianapolis, IN 46268-6135



Sheet no. __________
              3        of __________
                               4     continuation sheets attached to                                                             Subtotal >             $19,892.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 15-24121             Doc 1        Filed 07/15/15 Entered 07/15/15 14:14:15                                            Desc Main
                                                     Document     Page 18 of 39
B6F (Official Form 6F) (12/07) - Cont.
  In re Gloria J. Moore                                                                                             Case No.
                                                                                                                               (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                             AMOUNT OF




                                                                                                                                     UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                CLAIM




                                                                                                                                      CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                       DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
T-Mobile                                                                                                                                                 $727.00
P.O. Box 629025                                                                           REMARKS:
                                                                      -
EL Dorado Hls CA 95762-9025




 Representing:                                                                            Diversified Consultants                                     Notice Only
 T-Mobile                                                                                 P.O. Box 551268
                                                                                          Jacksonville, FL 32256



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Verizon Wireless                                                                                                                                         $532.00
P.O. Box 3397                                                                             REMARKS:
                                                                      -
Bloomington, IL 61702




 Representing:                                                                            Pinnacle Credit Service                                     Notice Only
 Verizon Wireless                                                                         P.O. Box 640
                                                                                          Hopkins, MN 55343-0640



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Vista Health System & Patient Financial                                                                                                                  $751.00
1324 N. Sheridan Rd.                                                                      REMARKS:
                                                                      -
Waukegan, IL 60085-2161



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
WFS Financial                                                                                                                                           $5,530.00
P.O. Box 1697                                                                             REMARKS:
                                                                      -
Winterville, NC 28590-1697



Sheet no. __________
              4        of __________
                               4     continuation sheets attached to                                                             Subtotal >              $7,540.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                     $33,592.00
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 15-24121           Doc 1       Filed 07/15/15 Entered 07/15/15 14:14:15                        Desc Main
B6G (Official Form 6G) (12/07)
                                                  Document     Page 19 of 39
   In re Gloria J. Moore                                                                Case No.
                                                                                                        (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


    Check this box if debtor has no executory contracts or unexpired leases.

                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.
              Case 15-24121               Doc 1        Filed 07/15/15 Entered 07/15/15 14:14:15                               Desc Main
B6H (Official Form 6H) (12/07)
                                                        Document     Page 20 of 39
In re Gloria J. Moore                                                                              Case No.
                                                                                                                           (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR

  daughter                                                                      Turner Acceptance
                                                                                4454 N. Western Ave.
                                                                                Chicago, IL 60625
             Case 15-24121               Doc 1       Filed 07/15/15 Entered 07/15/15 14:14:15                                     Desc Main
                                                      Document     Page 21 of 39
 Fill in this information to identify your case:
     Debtor 1              Gloria               J.                     Moore
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing post-petition
     United States Bankruptcy Court for the:   NORTHERN DISTRICT OF ILLINOIS
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY

Official Form B 6I
Schedule I: Your Income                                                                                                                              12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Patient Services
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Department of the VA

      Occupation may include            Employer's address     3001 N. Greenbay Rd.
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               North Chicago                IL       60064
                                                               City                         State    Zip Code     City                   State   Zip Code

                                        How long employed there?        21 years


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                  $3,703.18
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.

3.    Estimate and list monthly overtime pay.                                      3.   +               $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.               $3,703.18




Official Form B 6I                                            Schedule I: Your Income                                                                page 1
             Case 15-24121                         Doc 1           Filed 07/15/15 Entered 07/15/15 14:14:15 Desc Main
Debtor 1 Gloria                               J.
                                                                    Document
                                                                          Moore
                                                                                 Page 22 of 39Case number (if known)
           First Name                         Middle Name                        Last Name


                                                                                                                    For Debtor 1                 For Debtor 2 or
                                                                                                                                                 non-filing spouse

     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $3,703.18
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.              $989.73
     5b. Mandatory contributions for retirement plans                                                       5b.               $27.02
     5c. Voluntary contributions for retirement plans                                                       5c.                $0.00
     5d. Required repayments of retirement fund loans                                                       5d.                $0.00
     5e. Insurance                                                                                          5e.              $475.76
     5f. Domestic support obligations                                                                       5f.                $0.00
     5g. Union dues                                                                                         5g.               $42.79
     5h. Other deductions.
          Specify:                                                                                          5h. +                $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                  6.            $1,535.30
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $2,167.88
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.                  $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.

     8b. Interest and dividends                                                                             8b.                  $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.

     8d. Unemployment compensation                                                                          8d.                  $0.00
     8e. Social Security                                                                                    8e.                  $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00
     8h. Other monthly income.
         Specify:                                                                                           8h. +                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.                   $0.00

10. Calculate monthly income. Add line 7 + line 9.                                                          10.           $2,167.88          +                       =       $2,167.88
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                12.             $2,167.88
    income. Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and
    Related Data, if it applies.                                                                                                                                         Combined
                                                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
           Yes. Explain:




Official Form B 6I                                                               Schedule I: Your Income                                                                          page 2
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                                                        Document     Page 23 of 39
 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Gloria                 J.                     Moore                               An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing post-petition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS                                  MM / DD / YYYY
     Case number                                                                                               A separate filing for Debtor 2 because
     (if known)                                                                                                Debtor 2 maintains a separate household


Official Form B 6J
Schedule J: Your Expenses                                                                                                                         12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  child                               21 yrs
                                                                                                                                           Yes
      Do not state the
                                                                                                                                           No
      dependents' names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                         No
      expenses of people other than                    Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                      $800.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form B 6J                                             Schedule J: Your Expenses                                                         page 1
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Debtor 1 Gloria                     J.
                                                    Document
                                                          Moore
                                                                 Page 24 of 39Case number (if known)
            First Name              Middle Name             Last Name


                                                                                              Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans         5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                 6a.                   $125.00
     6b. Water, sewer, garbage collection                                               6b.

     6c. Telephone, cell phone, Internet, satellite, and                                6c.                   $100.00
         cable services
     6d. Other. Specify:                                                                6d.

7.   Food and housekeeping supplies                                                     7.                    $250.00
8.   Childcare and children's education costs                                           8.

9.   Clothing, laundry, and dry cleaning                                                9.                     $40.00
10. Personal care products and services                                                 10.                    $25.00
11. Medical and dental expenses                                                         11.                    $40.00
12. Transportation. Include gas, maintenance, bus or train                              12.                   $285.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                       13.                    $15.00
    magazines, and books
14. Charitable contributions and religious donations                                    14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                             15a.

     15b.    Health insurance                                                           15b.

     15c.    Vehicle insurance                                                          15c.                   $55.00
     15d.    Other insurance. Specify:                                                  15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                            16.

17. Installment or lease payments:

     17a.    Car payments for Vehicle 1                                                 17a.                  $400.00
     17b.    Car payments for Vehicle 2                                                 17b.

     17c.    Other. Specify:                                                            17c.

     17d.    Other. Specify:                                                            17d.

18. Your payments of alimony, maintenance, and support that you did not report as       18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form B 6I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                            19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.    Mortgages on other property                                                20a.

     20b.    Real estate taxes                                                          20b.

     20c.    Property, homeowner's, or renter's insurance                               20c.

     20d.    Maintenance, repair, and upkeep expenses                                   20d.

     20e.    Homeowner's association or condominium dues                                20e.


 Official Form B 6J                                         Schedule J: Your Expenses                            page 2
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Debtor 1 Gloria                   J.
                                                  Document
                                                        Moore
                                                               Page 25 of 39Case number (if known)
           First Name             Middle Name              Last Name


21. Other. Specify:                                                                                          21.    +
22. Your monthly expenses. Add lines 4 through 21.
    The result is your monthly expenses.                                                                     22.        $2,135.00
23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.       $2,167.88
    23b.    Copy your monthly expenses from line 22 above.                                                   23b.   –   $2,135.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.         $32.88

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form B 6J                                       Schedule J: Your Expenses                                         page 3
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B 6 Summary (Official Form 6 - Summary) (12/14)
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                                             UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF ILLINOIS
                                                CHICAGO DIVISION (EASTERN)
   In re Gloria J. Moore                                                             Case No.

                                                                                     Chapter      7



                                                        SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                                Yes      1                       $0.00


 B - Personal Property                            Yes      4                 $26,245.00


 C - Property Claimed                             Yes      1
     as Exempt
 D - Creditors Holding                            Yes      1                                          $30,000.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                              Yes      1                                               $0.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                  Yes      5                                          $33,592.00
     Nonpriority Claims
 G - Executory Contracts and                      Yes      1
    Unexpired Leases

 H - Codebtors                                    Yes      1


 I - Current Income of                            Yes      2                                                                 $2,167.88
     Individual Debtor(s)

 J - Current Expenditures of                      Yes      3                                                                 $2,135.00
    Individual Debtor(s)

                                             TOTAL         20                $26,245.00               $63,592.00
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B 6 Summary (Official Form 6 - Summary) (12/14)
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                                             UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF ILLINOIS
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   In re Gloria J. Moore                                                              Case No.

                                                                                      Chapter       7



     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.

    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
    information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount
 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                          $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was
                                                                                   $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                        $0.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                   $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar
                                                                                   $0.00
 Obligations (from Schedule F)

                                                            TOTAL                  $0.00

State the following:
 Average Income (from Schedule I, Line 12)                                     $2,167.88

 Average Expenses (from Schedule J, Line 22)                                   $2,135.00

 Current Monthly Income (from Form 22A-1 Line 11; OR, Form
 22B Line 14; OR, Form 22C-1 Line 14)                                          $4,406.00

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                                 $5,000.00

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                           $0.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                  $0.00

 4. Total from Schedule F                                                                           $33,592.00

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                       $38,592.00
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B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Gloria J. Moore                                                                  Case No.
                                                                                                             (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 22
sheets, and that they are true and correct to the best of my knowledge, information, and belief.


Date 6/4/2015                                                Signature    /s/ Gloria J. Moore
                                                                         Gloria J. Moore

Date                                                         Signature

                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
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                                                   NORTHERN DISTRICT OF ILLINOIS
                                                     CHICAGO DIVISION (EASTERN)
   In re:   Gloria J. Moore                                                                          Case No.
                                                                                                                             (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
       including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the TWO YEARS immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        -                           2015 Wages, Only those wages previously reported on Sch. I
        $45,000.00                  2014 Wages
        $45,000.00                  2013 Wages

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
       TWO YEARS immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)


       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
       debts to any creditor made within 90 DAYS immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 DAYS immediately
       preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


None
       c. All debtors: List all payments made within ONE YEAR immediately preceding the commencement of this case to or for the benefit of creditors
       who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within ONE YEAR immediately preceding the filing of this
       bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
        CAPTION OF SUIT AND                                                              COURT OR AGENCY                 STATUS OR
        CASE NUMBER                                    NATURE OF PROCEEDING              AND LOCATION                    DISPOSITION
        none, except for creditors
        previously listed
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B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
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                                                    CHICAGO DIVISION (EASTERN)
   In re:   Gloria J. Moore                                                                       Case No.
                                                                                                                          (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 1



None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
       to the seller, within ONE YEAR immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 DAYS immediately preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within ONE YEAR immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within ONE YEAR immediately preceding the commencement of this case except ordinary and usual
       gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within ONE YEAR immediately preceding the commencement of this case OR SINCE THE
       COMMENCEMENT OF THIS CASE. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within ONE YEAR immediately preceding the
       commencement of this case.

                                                                     DATE OF PAYMENT,
                                                                     NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                    OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        Cricket Debt Counseling                                      4/30/15                          $25

        Kenneth S. Borcia & Associates                               2009 - 2015                      $1,550.00
        1117 S. Milwaukee, Suite A-3
        Libertyville, IL 60048

       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
       either absolutely or as security within TWO YEARS immediately preceding the commencement of this case. (Married debtors filing under chapter
       12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
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                                                    CHICAGO DIVISION (EASTERN)
   In re:   Gloria J. Moore                                                                        Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 2



       b. List all property transferred by the debtor within TEN YEARS immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.



       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
       transferred within ONE YEAR immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 DAYS preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.


       15. Prior address of debtor
None
       If the debtor has moved within THREE YEARS immediately preceding the commencement of this case, list all premises which the debtor occupied
       during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
       Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within EIGHT YEARS immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.
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B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
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                                                     CHICAGO DIVISION (EASTERN)
   In re:   Gloria J. Moore                                                                         Case No.
                                                                                                                            (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
       potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
       Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
       or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within SIX YEARS immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within SIX YEARS immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within SIX YEARS
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within SIX YEARS
       immediately preceding the commencement of this case.


None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
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                                             NORTHERN DISTRICT OF ILLINOIS
                                               CHICAGO DIVISION (EASTERN)
   In re:   Gloria J. Moore                                                               Case No.
                                                                                                              (if known)



                                           STATEMENT OF FINANCIAL AFFAIRS
                                                            Continuation Sheet No. 4



[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 6/4/2015                                                  Signature         /s/ Gloria J. Moore
                                                               of Debtor         Gloria J. Moore

Date                                                           Signature
                                                               of Joint Debtor
                                                               (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
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                                                UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF ILLINOIS
                                                   CHICAGO DIVISION (EASTERN)
  IN RE:     Gloria J. Moore                                                               CASE NO

                                                                                           CHAPTER       7

                       CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A -- Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
estate. Attach additional pages if necessary.)


 Property No.   1

 Creditor's Name:                                                               Describe Property Securing Debt:
 Great Lakes Credit Union                                                       2012 Chevy Cruz
 2525 Green Bay Road
 North Chicago, IL 60064




 Property will be (check one):
         Surrendered                 Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):




 Property is (check one):
         Claimed as exempt              Not claimed as exempt


 Property No.   2

 Creditor's Name:                                                               Describe Property Securing Debt:
 Turner Acceptance                                                              2012 Chrysler 200
 4454 N. Western Ave.
 Chicago, IL 60625




 Property will be (check one):
         Surrendered                 Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):
         Debtor will continue making payments to creditor without reaffirming.




 Property is (check one):
         Claimed as exempt              Not claimed as exempt
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                                          NORTHERN DISTRICT OF ILLINOIS
                                           CHICAGO DIVISION (EASTERN)
  IN RE:    Gloria J. Moore                                                           CASE NO

                                                                                      CHAPTER    7

                      CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                       Continuation Sheet No. 1

PART B -- Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)


 Property No.     1
 Lessor's Name:                                       Describe Leased Property:                      Lease will be Assumed pursuant to
 None                                                                                                11 U.S.C. § 365(p)(2):

                                                                                                     YES              NO




I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.



Date 6/4/2015                                               Signature    /s/ Gloria J. Moore
                                                                        Gloria J. Moore




Date                                                        Signature
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B 201B (Form 201B) (12/09)              UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF ILLINOIS
                                           CHICAGO DIVISION (EASTERN)
In re Gloria J. Moore                                                                     Case No.

                                                                                          Chapter             7



                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                  Certification of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.

Gloria J. Moore                                                     X    /s/ Gloria J. Moore                               6/4/2015
                                                                        Signature of Debtor                                Date
Printed Name(s) of Debtor(s)
                                                                    X
Case No. (if known)                                                     Signature of Joint Debtor (if any)                 Date

                         Certificate of Compliance with § 342(b) of the Bankruptcy Code
I,              Kenneth S. Borcia                   , counsel for Debtor(s), hereby certify that I delivered to the Debtor(s) the Notice
required by § 342(b) of the Bankruptcy Code.

/s/ Kenneth S. Borcia
Kenneth S. Borcia, Attorney for Debtor(s)
Bar No.: 3125988
Kenneth S. Borcia & Associates
1117 S. Milwaukee, Suite A-3
Libertyville, IL 60048
Phone: (847) 634-8800
Fax: (847) 634-8932




Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.
Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) ONLY if the certification has NOT
been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's
attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition
preparers on page 3 of Form B1 also include this certification.
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FB 201A (Form 201A) (6/14)


                                          UNITED STATES BANKRUPTCY COURT

                             NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                      OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four
types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the
Attorney General may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal
advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that you
receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a JOINT CASE (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of
each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court
requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling
and provides assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the
bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone or on the
Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee or
bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit
counseling agencies. Each debtor in a joint case must complete the briefing.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7:     Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in
some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion
requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should
be dismissed.

Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated.

Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.
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Form B 201A, Notice to Consumer Debtor(s)                                                                                             Page 2

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($235 filing fee, $75 administrative fee: Total fee $310)
Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over a
period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using your
future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.

After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1167 filing fee, $550 administrative fee: Total fee $1717)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman               ($200 filing fee, $75 administrative fee: Total fee $275)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
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                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                                  $1,750.00
     Prior to the filing of this statement I have received:                                        $1,550.00
     Balance Due:                                                                                    $200.00

2. The source of the compensation paid to me was:
                  Debtor                       Other (specify)

3. The source of compensation to be paid to me is:
                  Debtor                       Other (specify)

4.       I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

         I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   POST PETITION AMENDMENTS
   RESCHEDULING OF THE 341 MEETING
   SERVICES REQUESTED AFTER DISCHARGE AND/OR DISMISSAL
   REPRESENTATION OF THE DEBTOR IN ADVERSARY PROCEEDINGS


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                        6/4/2015                              /s/ Kenneth S. Borcia
                          Date                                Kenneth S. Borcia                          Bar No. 3125988
                                                              Kenneth S. Borcia & Associates
                                                              1117 S. Milwaukee, Suite A-3
                                                              Libertyville, IL 60048
                                                              Phone: (847) 634-8800 / Fax: (847) 634-8932




      /s/ Gloria J. Moore
     Gloria J. Moore
